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                 IN THE UNITED STATES DISTRICT COURT                     U.S.D.C.
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


I N RE EQUIFAX, INC., CUSTOMER              MDL DOCKET NO. 28o5
DATA SECURITY BREACH                            I:I7-md-2800-TWT
LITIGATION
                                            ALL CASES



     AMENDED JOINT APPLICATION OF SHANE F. LANGSTON AND
     R E B E C C A M. LANGSTON F O R APPOINTMENT TO S T E E R I N G

                                  COMMITTEE

      Applicants Shane F. Langston and Rebecca M . Langston (the "Langstons")

pursuant to CMO Nos. I and 2 file this amended^ joint application ("Joint

Application") requesting that the Court appoint them (or one of them) to the

steering committee for the subject Customer Data Security Breach Litigation. In

support thereof, the Langstons state as follows:
                                     Summary

      In support of their Joint Application, the Langstons attach hereto the

following:

      Exhibit A- Sworn Declaration of Shane F. Langston

^ Applicants Shane F. Langston and Rebecca M . Langston respectfully submit this
Amended Joint Application because the original Joint Application was
inadvertently submitted in an incorrect 12 point typeface. A l l exhibits were
originally submitted in the correct 14 point typeface and have not been changed
from their original format. Other than correcting the typeface, no other changes
have been made to the Joint Application.
       Case 1:17-md-02800-TWT Document 199 Filed 02/01/18 Page 2 of 30




       Exhibit B - Curriculum Vitae of Shane F. Langston

       Exhibit C - Representative Class Action and Mass Tort History

       Exhibit D - Sworn Declaration of Rebecca M . Langston

       The Langstons (together with our co-counsel Bailey & Gal yen) represent

approximately 2,000 customers impacted by the Equifax data breach. These

customer/clients have a variety of injuries. Through literally hundreds of hours of

data gathering, the Langstons are uniquely familiar with concrete injuries and

traceability issues relevant to Article III standing defenses that may be advanced

by Equifax.

       The Langstons have extensive experience in class action and mass tort

litigation. The subject Joint Application satisfies all criteria set forth in CMO I

and 2 and FED. R . C I V . P. 23(g).

       Without doubt, the Leadership Counsel for plaintiffs in the Home Depot

multi-district litigation recently managed by this Court are competent, qualified,

and effective counsel. Many (if not all) of these same counsels will apply for

Leadership positions in the subject Equifax litigation. The Langstons (if such

counsels are appointed to Leadership positions in the current litigation) are

committed to work cooperatively with such counsel and contribute time, staff,

attorneys and financial resources proportionally and necessary to effectively

represent the putative classes.

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       The Langstons (absent our association with our co-counsel of Bailey &

Galyen) have no affiliation with the many other hundred counsel vying for a

leadership position in this cause. That said, the Langstons do not anticipate that

other applicants for leadership have any objection to their participation. Further, it

is anticipated that the other applicants will recognize that the Langston resources

available to this litigation combined with the invaluable data from their 2,000

clients is a valuable contribution worthy of a seat on the steering committee.




                                   Law & Argument

       The Langstons are qualified and committed to expending the time and

resources required to successftilly prosecute this complex litigation, making them

appropriate for appointment to the plaintiffs' steering committee. Federal Rule

23(g) provides criteria for the court to consider in appointing class counsel,

including: (1) the work counsel has done in identifying or investigating potential

claims; (2) counsel's experience in class actions and complex litigation; (3)

counsel's knowledge of the applicable law; (4) the resources that counsel will

commit to representing the class, and (5) any other matter pertinent to counsel's

ability to fairly and adequately represent the interests of the class. FED. R . C I V . P.

23(g)(l)(A)(i-iv) & ( B ) . The Manual for Complex Litigation also discusses factors

to be considered by the Court in the appointment of class counsel, which include

                                             3
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among other factors: (1) quahfications of designated counsel; (2) competence for

assignments; (3) whether counsel will fairly represent the various interests in the

lidgation; (4) counsel's resources, commitment, and qualifications to accomplish

the assigned tasks; and (5) the counsel's ability to command the respect of

colleagues and work cooperatively with opposing counsel and the court. See MCL

§ 10.224.

      Although the Langstons only seek appointment to the plaintiffs' steering

committee - not lead class counsel - the Langstons are qualified pursuant to the

class counsel appointment criteria set out above. Shane Langston has

approximately 34 years of experience, including numerous mass tort and class

action cases. See Exh. A, at ^ 4. His experience includes appointment as class

counsel in complex litigation involving thousands of class members. Mat ^Hf 4-6.

A history of Shane Langston's extensive litigation history is attached hereto as

Exhibit C. Rebecca Langston also has extensive experience in mass tort litigation,

including approximately two decades working on numerous mass tort cases. See

Exh. D, at I I 4 - 5 ; see also Exh. C. She also has experience in common benefit

committee work, including work she performed as a member of the discovery

committee in the Vioxx litigation. See Exh. D, at | 5. Jason Nabors also has

significant experience in class action and mass tort litigation, including work for




                                          4
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multiple steering committees as well as past experience with data breach cases. See

Exh. C, at pp. 2-3.

       The Langstons, along with undersigned counsel Jason Nabors and other

counsel and staff at Langston & Langston, PLLC, are committed to dedicating the

substantial time and resources required for the complex data breach litigation at

issue here. In addition, the Langstons are committed to working in cooperation

with other firms and counsel appointed to leadership positions. The undersigned

have been in contact with numerous other attomeys from around the country in

regard to this litigation.

       The Langstons, along with co-counsel Bailey and Galyen, represent

approximately 2,000 individual consumers affected by the subject Equifax data

breach. The Langstons and their firm have undertaken substantial efforts in

communicating and representing a large number of consumers. The data and

infonnation associated with such a large number of plaintiffs will be beneficial to

class counsel. The Langstons are prepared to expend the time and resources

necessary to successfully pursue this litigation on behalf of all potential class

members.




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                                   Conclusion

      For the foregoing reasons, the Langstons respectfully request an order from

this Court appointing Shane Langston and/or Rebecca Langston to the plaintiffs'

steering committee.

      Respectfully submitted this the         day of January, 2018.

                                        I si Shane F. Langston
                                        Shane F. Langston, Esq.

                                        /s/ Rebecca Lansston
                                        Rebecca Langston, Esq.

                                        /s/ Jason Nabors
                                        Jason Nabors, Esq.



 Shane F. Langston, Miss. Bar #1061; Tex. Bar #24101017
 Rebecca McRae Langston, Miss. Bar #99608
 Greta L. Kemp, Miss. Bar #103672
 Jason L. Nabors, Miss. Bar #101630
 LANGSTON & LANGSTON, PLLC
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 shane@langstonlawyers. com
rebecca@langstonlawyers. com
 greta@langstonlaw vers. com
j ason@langstonlawvers. com




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                              Certificate of Service

      The undersigned does hereby certify that a tme and correct copy of the

foregoing document v^as filed with this Court's electronic filing system, which

automatically sends notification and service of a copy of said document to all

counsel of record.

      This the 31st day of January, 2018.


                                     /s/Jason L. Nabors
                                     Jason L. Nabors




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            EXHIBIT A
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 IN RE. EQUIFAX, INC., CUSTOMER   MDL DOCKET NO. 2800
 DATA SECURITY BREACH              1:17-md-2800-TWT
 LITIGATION                     [
                                             A L L CASES



                   D E C L A R A T I O N OF SHANE F. LANGSTON

         I, Shane F, Langston, declare under penalty of perjury pursuant to 28 USC A

§ 1746 that the following is true and conxct:

    1. My iaw partner and wife, Rebecca M. Langston, Esq., and i are the sole

shareholders of the law firm Langston & Langston, PLLC, with offices in Jackson,

Mi,ssissippi and Southlake, Texas. This declaration is submitted in support of our

Joint Application for appointment to the steering committee consistent with CMO

1 and 2.

   2. I. am a member in good standing and have been a member in good standing

of the Mississippi Bar (Bar No. 1061) since 1984. 1 am a member in good

standing and have been a member in good standing of the Texas Bar (Bar No.

24101017) since 2016. Throughout my almost 3 4 years of law practice I have

never been disciplined or admonished by any bar association or any court on any

level.
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    3. A very concise curriculum vitae of my education and experience is attached

 to the Langston Joint Appiicadon as Exhibit B. In short, 1 earned my BA

 (business) and Masters of Business Administration from Millsaps College in 1980-

 81 and earned my JD from the University of Mississippi School of Law in 1984.

 Upon graduation from law school I began practicing business iaw and general

 litigation with a "large" (by Mississippi standards) law firm in Jackson,

 Mississippi. In 1990,1 began a two-lawyer "boutique" plaintiff firm, Langston &

 Frazier, LP. The fmn, eventually evolving into Langston Sweet & Freese, PLLC,

grew to 12 lawyers with offices in Jackson, Mississippi and Birmingham.,

Alabama. In 2003, my law partner wife and 1 formed our current f i m , Langston &

Langston, PLLC, where we employ several legal assistants and two highly skilled

and experienced associate attomeys (i.e., Greta Kemp, Esq., with over 8 years of

experience and Jason Nabors, Esq., with over 13 years of experience).

   4, Throughout my 34-year law practice I have focused on the representation of

plaintiffs in personal injury and business litigation.' This representation has

included many mass tort cases and class actions. I was appointed as one of

plaintiffs' class counsel for settlement pui-poses in a class action styled Page v.

Blue Cross and Blue Shield Ass'n of Mississippi where 1 successtMly prosecuted



' While most of my practice has centered on personal injury, I have also represented
many commercial plaintiffs (i.e., railroads, pipelines, hotels, apartments, etc.)
involving various tax disputes.
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 and negotiated a settlement in the millions of dollars paid to many thousands of

 insureds who had been defrauded in complex, secret contractual aiTangements

 between Blue Cross and hospital providers. The litigation extended almost four

 (4) years from the filing of the original class action complaint to the entry of final

 Judgment. (See Representative Litigation History, Exhibit C attached to the Joint

Application.)

    5. Through the representation of the class plaintiffs in Page v. Blue Cross. I

discovered that a subsection of the same plaintiffs against whom Blue Cross had

advanced subrogation claims had been defrauded of millions of dollars. I filed

another class action styled Gatw-ood v. Blue Cross and Blue Shield Ass'n of

Mississippi. 2:94-cv~00154-CWP, United States District Court for the Southern

District of Mississippi, Flattiesburg Division. I was the sole Lead Class Counsel

and successfiiily concluded a multimillion class settlement. Id.

   6. Following the Mississippi class actions against Blue Cross, I participated

with class counsel and successflilly prosecuted similar class lawsuits against Blue

Cross entities in the states of Illinois, Louisiana, Oregon and Temessee.

   7. Over several decades I have successfully prosecuted many mass tort cases.

A non-exhaustive but representative list of such cases is attached to the Joint

Application as Exhibit C.




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    8. Additionally, for decades I have held leadership roles in various legal

 organizations including President of the Mississippi Association of Justice

 (formerly Mississippi Trial Lawyers Association) and Trustee of the Roscoe

 Pound Civil Justice Institute.- I have presented papers and lectured on many

 occasions at legal organizations including the Westem Trial Lawyers Ass'n, the

 Southern Trial Lawyers Ass'n, the Mississippi Association for Justice and AAJ.

    9. Addressing specifically the criteria noted in the subject CMO 1: a) I am

willing and have the ability to commit to the veiy time-consuming process i f

chosen to ser\''e on the steering committee for the subject Customer Data Security

Breach multi-district litigation; b) I have the ability to work cooperatively with

others; c) I am thoroughly familiar with the Manual for Complex Litigation and

have educated myself in data security breach litigation by studying filings in other

data security breach litigation (including Home Depot before this Court), reading

literally dozens of security breach cases and legal publications, and attending a

conference for plaintiff attorneys regarding the subject Equifax litigation;^ and d)


" The Pound Civil Justice Institute is a national legal "thinlc tank" dedicated to
ensuring access to justice for ordinary citizens, its centerpiece is the annual hosting
of the Forum for State Appellate Court Judges, i.e., a Ml-day educational program
attended by judges, legal scholars and attomeys.

•'My entire law tirm, including my partner/wife Rebecca Langston, Esq., associate
attomeys Jason Nabors, Esq., and Greta Kemp, Esq., and I attended the Harris
Mari:in's Equifax Data Breach Litigation Conference in Adanta, G A on November
9,2017.
                                          4
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my law firm and I have access lo sufficient resources to advance this litigation in a

timely manner.

    10-Relative to available "resources", one of my co-counsel representing the

plaintiffs in the Texas fded class actions is Steve Maxwell, Esq., with the law firm

of Bailey & Galyen ("B&G"). B&G mcludes approximately 40 lawyers spread

over 16 offices throughout Texas and one office in San Francisco, Califomia.

Texas and Califomia, where my co-counsel and 1 have offices, are likely the tw'o

states with greatest number of Equifax victims.

   11 .This Court's CMO 2 further referenced the "Class Counsel" criteria found in

Fed. R. Civ. P. 23(g). Specifically, Rule 23{g)(l)(A)(i) provides that the court

must consider "the work counsel has done in identifying and investigating

potential claims in the action". I attest that my law fim and my co-counsel at

B & G have devoted hundreds of hours identifying and investigating potential

claims:

          a. We represent approximately 2,000 individual customers who have

             been directly impacted by the Equifax data security breach;

          b. We have employed contract legal assistants who have worked for

            months interviewing Equifax customers and gathering relevant

            documents and information regarding concrete damages and

            traceability; and
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          c. Four (4) of our lawyers traveled to Atlanta to educate ourselves on the

              Equifax data breach litigation and 1 traveled to Atlanta to attend the

              January 9, 2018 status conference.

    12.My law firm and my co-counsel at B&G are committed in terms of

resources, staff, time, and knowledge to assisting Lead Counsel and Liaison

Counsel and working cooperatively with fellow steermg committee members to the

competent and fair representation of the putative class members. Representing

approximately 2,000 putative class members we are uniquely positioned to assist

Leadership counsel in identifying potential subclasses, identifying potential class

representatives within such classes, and overcoming Article III standing challenges

by Equifax.

   For these reasons, I request that the Court consider my appointment to the

steering committee for the subject Equifax Customer Data Security Breach

Litigation.

      FURTFIER A F F I A N T SAYS NOT.




                                              Shane F. Langston


      SWORN TO AND SL^SCRIBED BEFORE ME, this the 28th, day of
January, 2018.



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STATE OF TEXAS
COUNTY OF TARRANT

              PERSONALLY APPEARED BEFORE ME, the undersigned
authority in and for the state and county aforesaid, the within named, Shane F.
Langston, who being first by me duly swom stated on oath that the matters and
facts set forth in the above and forgoing Affidavit are tme and correct as therein
stated.

      DATED: J a n u a r y ^ 2018.                 ,1




      (SEAL)




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            EXHIBIT B
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                              CURRICULUM ViTAE


Name:              S h a n e F. Langston

Address:           Langston & Langston, P L L C
                   2 1 0 E. Capitol S t
                   Suite 1205

                   J a c k s o n , Mississippi 39201

                   And
                   Langston & Langton, P L L C
                   1161 La Mirada C t
                   Southlake, T e x a s 76092

Telephone:         (601)969-1356

Facsimile:         (601)968-3866

Email:             shane@langstonlawyers.com

Personal Status:   Married; W i f e Rebecca M. Langston
                   Children; Cody, 3 1 , Jacqueline 28,
                   Jaqe 2 3 ; MacKenzie 14;
                   Gabrielle 12; S h a n e A u b r e y 8;
                   C o n n o r Langston, 7

Education:

1980               B.B.A. Millsaps College; M a g n a C u m L a u d e ;
                   Recipient - (1980) Else Business Scholarship
1981               M.B.A. Millsaps College
1984               J.D. University of Mississippi Law Center; C u m L a u d e :
                   Managing Editor, Mississippi L a w Journal;
                   Phi K a p p a Phi; Phi Delta Phi.

Licensed:          Mississippi (1984): all state and federal courts.
                   T e x a s (2016): all state courts.
                   United States District Court N.D. T e x a s .
                   United States District Court N.D. and S.D. Mississippi.
                   United States S u p r e m e Court.
                   Fifth Circuit Court of A p p e a l s .
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Professional Organizations:

Mississippi State Bar
State Bar of T e x a s
Mississippi Association for Justice (formally MTLA; Mississippi Trial Lawyers
Association); Former Past President 2001 - 2 0 0 2
A m e r i c a n Association for Justice (formally A T L A ; A m e r i c a n Trial Lawyers
Association); Past-Trustee - R o s c o e Pound
Magnolia Bar Association
Hinds C o u n t y Bar Association
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            EXHIBIT C
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          I.     SHANE F. LANGSTON, Esq., Representative Class Action and Mass
                 Tort Litigation History

Class Action - Page v. Blue Cross & Blue Shield of Mississippi. Cause No. 2:93-cv-
00241-CWP, United States District Court, Southern District of Mississippi,
Hattiesburg Division.

Class Action - Gatwood v. Blue Cross & Blue Shield of Mississippi, Cause No. 2:94-
CV-00154-CWP, United States District Court, Southern District of Mississippi,
Hattiesburg Division.

Mass Tort - Whitten v. GE Life and Annuity, Cause No. 2:04-cv-00321-KS-JMR,
United States District Court, Southern District of Mississippi, Hattiesburg Division;
Williams v.GE Life, Cause No. 3:04-cv-00779-HTW-JCS, United States District
Court, Southern District of Mississippi, Jackson Division; Barranco v. GE Life, Cause
No. 3:04-cv-00860-HTW-JCS, United States District Court, Southern District of
Mississippi, Jackson Division.

Mass Tort - Massev v. Equitable Life, Cause No. 3:02-cv-01639-TSL, United States
District Court, Northern District of Mississippi; Ivv v. Equitable Life, Cause No.
4:02-cv-00423-TSL, United States District Court, Southern District of Mississippi,
Jackson Division.

Mass Tort - McGowan v. Mutual Life Ins. Co., Cause No. 3:03-cv-00182-HTW,
United States District Court, Southern District of Mississippi, Jackson Division.

Mass Tort - Hughley v. Money Life Ins. Co., Cause No. 3:03-cv-00297-TSL, United
States District Court, Southern District of Mississippi, Jackson Division.

Mass Tort - Ashcraft v. Money Group, Inc., Cause No. 3:04-cv-00255-TSL, United
States District Court, Southern District of Mississippi, Jackson Division.

Mass Tort - Avant v. Merck & Company, Inc., Cause No. 3:07-cv-00725-HTW-LRA,
United States District Court, Southern District of Mississippi, Jackson Division.

Mass Tort: Shane F. Langston and his law firm have represented mass tort clients
in claims against the following industries/manufacturers/defendants: asbestos;
tobacco; pharmaceutical defendants including the manufacturers of Vioxx, Fen-
Phen, etc.; medical product manufacturers including the manufacturers of
transvaginal mesh; etc. In one such mass tort, Langston's law firm Langston
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Frazier Sweet & Freese secured a $150 million trial verdict followed by a $400
million settlement of Fen-Phen claims against American Home Products.



*rhe above list is not exhaustive of Langston's experience and participation in class
action and mass tort cases. Further, since her admission to the Mississippi Bar in
1999 Rebecca M. Langston, Esq., partner in Langston & Langston, has made
significant contributions to all of the above listed mass tort cases.



           II.   Langston & Langston Associate Attorney Jason Nabors, Esq., Class
                                     Action and Mass Tort History

Data breach case (Mid Delta/Pacificare litigation involving the theft of data,
including social security numbers, concerning many elderly patients in Mississippi)
- Aldridge, et al., v. Pacificare Life and Health Ins. Co., et al., CV2007-16 (Panola
County, Miss.); Gooch et al., v. Pacificare Life and Health Ins. Co., et al., CV2007-
0014 (DeSoto County, Miss.); Clark, et al., v. Pacificare Life and Health Ins. Co., et
al., CV2006-188 (Tate County, Miss.); Donald, et al., v. Pacificare Life and Health
Ins. Co., et al., CV2006-184 (DeSoto County, Miss.); Moore, et al., v. Pacificare Life
and Health Ins. Co., et al., CV2006-142 (Panola County, Miss.).

COUNSEL OF RECORD I N THE FOLLOWING CERTIFIED CLASS ACTION
CASES (FIRM APPOINTED AS LEAD CLASS COUNSEL):



I N RE: Jackson National Life Insurance Company Premium Litigation, MDL
Docket No. 1122 (W.D. Mich); IN RE: UICI "Association-Group" Insurance
Litigation, MDL Docket No. 1578 (N.D. Tex.); Florence R. Roberts, Individually
and on Behalf of Others Similarly Situated, v. FFP Advisory Services, Inc., Civil
Action No. I:05-cv-38-D-D (N.D. Miss.).

PERFORMED COMMON BENEFIT WORK FOR PSC OR PEC I N THE
FOLLOWING M D L CASES:

I N RE: Fresenius Granuflo / Naturalyte Dialysate Products Liability Litigation,
M D L Docket No. 2428 (D. Mass.) (Mass Tort); I N RE: FedEx Ground Package
System, Inc., Employment Practices Litigation, MDL Docket No. 1700 (N.D. IN);
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IN RE: Jackson National Life Insurance Company Premium Litigation, MDL
Docket No. 1122 (W.D. Mich); IN RE: UICI "Association-Group" Insurance
Litigation, MDL Docket No. 1578 (N.D. Tex.).
OTHER MDL CASES WORKED ON, BUT NOT AS PART OF PSC OR PEC
COMMON BENEFIT WORK:
IN RE: Zofran (Ondansetron) Products Liability Litigation, MDL Docket No. 2657
(D. Mass.); I N RE: Boston Scientific Corp. Pelvic Repair System Products
Liability Litigation MDL Docket No. 2326 (S.D. W.VA); I N RE: Ethicon, Inc.,
Pelvic Repair System Products Liability Litigation, MDL No. 2327 (S.D. W.VA);
IN RE: American Medical Systems, Inc., Pelvic Repair System Products Liability
Litigation, MDL Docket No. 2325 (S.D. W.VA); I N RE: CR. Bard, Inc., Pelvic
Repair System Products Liability Litigation, MDL Docket No. 2187 (S.D. W.VA);
IN RE: Cook Medical, Inc., Pelvic Repair System Products Liability
Litigation, MDL Docket No. 2440 (S.D. W.VA); I N RE: Coloplast Corp. Pelvic
Support Systems Products Liability Litigation, MDL Docket No. 2387 (S.D.
W.VA); I N RE: Medtronic Defibrillator Litigation, MDL Docket No. 1726 (D.
Minn.).
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            EXHIBIT D
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                    IN THE UNTTED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DmSION


   IN RE EQUIFAX, INC., CUSTOMER              M D L DOCKET NO. 7800
   DATA SECURITY BREACH                        1:17~md-2800-TWT
   LITIGATION
                                                            ALL CASES



                 D E C L A R A T I O N OF REBECCA M . LANGSTON

         1, Rebecca M . Langston, declare under penalty- of perjury pursuant to 28

 USCA § 1746 that the following is true and correct:

     L M y law partner and husband, Shane F. Langston, Esq., and I are the sole

 shareholders of the iaw firm. Langston & Langston, PLLC, with offices in .lackson,

 Mississippi and Southlake, Texas. This declaration is submitted in support of our

 Joint Application for appointm.ent to the steering committee consistent with CMO 1

and 2.

    2. i am a member in good standing and have been a member in good standing of

the Mississippi Bar (Bar No. 99608) since 1999. I am a member in good standing

and have been a member in good standing of the Washington D.C. Bar (D.C. Bar

No. 475176) smce the year 2000. Throughout my almost 19 years of law p.ractice 1

have never been disciplined or admonished by any bar association or any court on

any level.
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     3. I earned     a double major in Business Administration and Busmess

  Management (with an emphasis in Human Resources and minor in English) from

  the University of Mississippi in 1995. In 1999 I was the first dual graduate from

  Mississippi College with a Masters in Business Administration (MBA) (Cum Laude)

 and JD (law degree). Upon graduation from law school I began practicing law with

 Langston Frazier Sweet & Freese in Jackson, Mississippi. I assisted with all class

 actions and mass tort cases in the law firm. In 2003, my husband Shane Langston,

 Esq., and I started our ovm law firm, Langston & Langston, PLLC.              I am the

 managing partner and have overseen all mass tort projects.

    4. Throughout my 19-.year law practice I have focused on the representation of

 plaintiffs in personal injury and business litigation. This representation has included

 many mass tort cases. Among many other responsibilities in mass tory litigation, I

was a member of the Discovery Committee in the Vioxx litigation.

    5. Over two decades I have successfully participated in the prosecution of many

mass tort cases. A non-exhaustive but representative list of such cases is attached to

the Joint Application as Exhibit CJ

   6. Additionally, for decades I have held leadership roles m various legal

organizations including: President of the Mississippi Association of Justice ("MAJ")




 I contributed to and participated in the prosecution of all listed mass tort cases (and
some not listed) since beginning my practice in 1999.
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  (foi-merly Mississippi Trial Lawyers Association) - 2010-11; Executive Committee

  and Board of Directors of MAJ - 2000 through present (longest standing member);

 Chair of Diversity Committee of Mississippi Bar - 2004-05; Board of Govemors of

 American Association of Justice {''AAJ") (formerly American Trial Lawyers

 Association) - six years; Executive Committee of AAJ - four years; Chair of New

 Lawyers Division of AAJ (thousands of members) - 2007-08; Chair of Women's

 Caucus of AAJ (several thousand members) - 2014-15; President of Council of

 Presidents of AAJ (president of all 50 state presidents) - 2011-12; Chair-Elect of

 State Delegates of AAJ - 2018; Election Committee of AAJ -2016 through present;

 Board of Govemors of Western Trial Lawyers Association ("WTLA") - 2006 untii

present; President-Elect of WTLA - 2015; President of WTLA - 2016-17 (first

female president); Board of Govemors of Southern Trial Lawyers Association -

2014 through present. Additionally, 1 have presented papers and lectured on many

occasions at legal organizations including the Western Trial Lawyers Ass'n, the

Southern Trial Lawyers Ass'n, the Mississippi Association for Justice, the American

Association of Justice, the Beli Society, Injury Lawyers Society, and the New Jersey

Boardwalk Seminar.

   7. Rule 23(g) of the Federal Rules of Civil Procedure notes that the court when

appointing leadership counsel may consider "any other matter pertinent to counsel's

ability to fairiey and adequately represent the interests of the class." To this end, I


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 believe that my experience in representing pro bono multiple victims of the

 September 11, 2001      teiTorist   attacks; my pro bono leadership in representing

 children's interest as a Board of Director o f Kids Matter (charity organization

 representuig underprivileged children nationally and internationally); my pro bono

 participation on the Board of Directors of the Tarrant County, Texas Community

 Enrichment Center (charity organization helping victims of family violence,

 homelessness, and iowrincome families); and the Jackson Junior League '

    8. Addressing specifically the criteria noted in the subject CMO L a) I am

 willing and have the ability to commit to the very time-consuming process if chosen

 to serve on the steering committee for the subject Customer Data Security Breach

multi-district lidgation; b) I have the ability to work cooperatively with others; c) I

am thoroughly familiar with the Manual for Complex Litigation and have educated

myself in data security breach litigation by studying filings in other data security

breach litigation (including Home Depot before this Court), reading literally dozens

of security breach cases and legal publications, and attending a conference for

plaintiff attomeys regarding the subject Equifax litigation;- and d) my law firm and

1 have access to sufficient resources to advance this litigation in a timely manner.




"My entire law firm, including my paitner/husband Shane F, Langston, Esq.,
associate attomeys Jason Nabors, Esq., and Greta Kemp, Esq., and I attended the
Harris Martin's Equifax Data Breach Litigation Conference in Atlanta GA on
November 9, 2017.
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     9. Relative to available "resources", one of my co-counsel representmg the

 plaintiffs in the Texas filed class actions is Steve Maxwell, Esq., with the law firm

 of Bailey & Galyen ("B&G"). B&G includes approximately 40 lawyers spread over

  16 offices throughout Texas and one office in San Francisco, Califomia. Texas and

 Califomia, where my co-counsel and I have offices, are likely the two states with

 greatest number of Equifax victims.

     10. This Court's CMO 2 farther referenced the "Class Counsel" criteria found in

 Fed. R. Civ. P. 23(g). Specifically, Rule 23(g)(l)(A)(i) provides that die court must

 consider "the work counsel has done in identifying and investigating potential claims

 in the action". I attest that my law firm and my co-counsel at B&G have devoted

hundreds o f hours identifying and investigating potential claims:

    a. We currently represent approximately 2,000 individual customers who have

been directly impacted by the Equifax data security breach;

    b. We have employed contract legal assistants who have worked for months

inteiwiewing Equifax customers and gathering relevant documents and infonnation

regarding concrete damages and traceability; and

   c. Four (4) of our lawyers traveled to Atlanta to educate ourselves on the Equifax

data breach litigation.

   1 LMy law- finn and my co-counsel at B&G are committed in tenns of resources,

staff, time, and knowledge to assisting Lead Counsel and Liaison Counsel and


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  working cooperatively with fellow steering committee members to the competent

  and fair representation of the putative class members. Representing approximately

 2,000 putative class members we are uniquely positioned to assist Leadership

 counsel       in   identifying   potential   subclasses,   identifying   potential   class

 representatives within such classes, and overcoming Article III standing challenges

 by Equifax.

    For these reasons, I request that the Court consider my appointment to the

 steering committee for the subject Equifax Customer Data Security Breach

 Litigation.

       FURTHER AFFL\NT SAYS NOT.




      SWORN TO AND SL^SCRIBED BEFORE .VIE, this the 28th day of
January, 2018.


STATE OF TEXAS
CObWrY OF TARRANT

               PERSONALLY APPE.ARED BEFORE ME, the undersigned
authority in and for the state and county aforesaid, the within named, Rebecca M .
Langston, who being first by me duly sworn stated on oath that the matters and
facts set forth in the above and forgoing Affidavit are true and coirect as therein
.stated.

      DATED: January          , 2018.

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                                     NOTARY PUBLIC


  (SEAL)




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